       Case 1:08-cr-00246-LJO Document 93 Filed 05/27/11 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5

 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                         EASTERN DISTRICT OF CALIFORNIA
 8
                                    )
 9                                  )
     UNITED STATES OF AMERICA,      )          CR. NO. 1:08-cr-00246 OWW
10                                  )
                  Plaintiff,        )          STIPULATION TO SCHEDULE A
11                                  )          STATUS CONFERENCE FOR A CHANGE
          v.                        )          OF PLEA AND ORDER
12                                  )
     SAROEUN ROS,                   )
13                                  )          DATE: May 31, 2011
                  Defendant.        )          TIME: 9:00 A.M.
14                                  )          PLACE: Courtroom Three
     ______________________________ )          Honorable Oliver W. Wanger
15

16
          IT IS HEREBY STIPULATED by and between the parties through
17
     their respective counsel, that a status conference for a change of
18
     plea be scheduled on Tuesday, May 31, 2011, at 9:00 a.m. before
19
     the Honorable Oliver W. Wanger, United States District Court
20
     Judge.
21
     DATED:   May 26, 2011                    BENJAMIN B. WAGNER
22                                            United States Attorney

23
                                              By /s/Kathleen A. Servatius
24                                            KATHLEEN A. SERVATIUS
                                              Assistant U.S. Attorney
25

26   DATED:   May 26, 2011                    /S/ Jon Kiyoshi Renge
                                              JON KIYOSHI RENGE
27                                            Attorney for Defendant
                                              Saroeun Ros
28

                                          1
       Case 1:08-cr-00246-LJO Document 93 Filed 05/27/11 Page 2 of 2



 1                                     ORDER

 2
          IT IS HEREBY ORDERED, that a status conference be scheduled
 3
     for a change of plea on Tuesday, May 31, 2011, at 9:00 a.m.
 4

 5

 6

 7   DATED: May 27, 2011                      /s/ OLIVER W. WANGER
                                              U.S. District Court Judge
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          2
